                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

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CHARLES MAMOU, JR.,                §
                                   §
                Petitioner,        §
                                   §
         vs.                       §             CASE No. 4:14-CV-00403
                                   §
WILLIAM STEPHENS,                  §
                Director,          §
Texas Department of Criminal       §
Justice, Correctional Institutions §               (Death Penalty Case)
Division,                          §               (Judge Lee H. Rosenthal)
                 Respondent        §
______________________________ §



                   INDEX OF EXHIBITS IN SUPPORT OF
              AMENDED PETITION FOR WRIT OF HABEAS CORPUS




                                       A. Richard Ellis
                                       Texas Bar No. 06560400
                                       75 Magee Ave.
                                       Mill Valley, CA 94941
                                       (415) 389-6771
                                       FAX (415) 389-0251
                                       Attorney for Petitioner Charles Mamou, Jr.
EXHIBIT             DESCRIPTION

EXHIBITS PREVIOUSLY FILED WITH THE PROTECTIVE SKELETAL PETITION:

1    Complaint (12-10-98) and Indictment (3-3-1999)                                    CR 2-6

2    Defense Motion for Discovery of Victim Impact (9-1-1999)                      CR 20-22

3    Defense Motion for the State to Reveal Agreements (9-1-1999)                  CR 23-26

4    Defense Motion for Production and Disclosure of Informant (9-1-1999)          CR 49-51

5    Charge of the Court at Guilt/Innocence (10-12-1999)                           CR 78-89

6    Verdict at Guilt/Innocence   (10-12-1999)                                         CR 90

7    Charge of the Court at Punishment Phase (10-15-1999)                         CR 95-100

8    Judgment/Sentence (10-15-1999)                                    CR 101-103, 105-107

9    Texas Court of Criminal Appeals, Opinion on Appeal
     (State v. Mamou, No. 73,708 (Tex. Crim. App. Nov. 7, 2001)

10   Appellant’s Brief, State v. Mamou, No. 73,708 (9-1-2000)

11   State Application for Post-Conviction Writ of Habeas Corpus
     (Ex parte Charles Mamou, Jr., No. 800112-A)                               1 SHCR 3-55

12   Subsequent Pro Se State Application for Post-Conviction Writ of Habeas Corpus
     (Ex parte Charles Mamou, Jr., No. 800112-A) (7-31-2013)                  3 SHCR 6-29

13   Subsequent State Application for Post-Conviction Writ of Habeas Corpus
     (Ex parte Charles Mamou, Jr., No. 800112-A) (10-29-2013)             1 SHCR 196-241

14   State’s Proposed Findings of Fact, Conclusions of Law and Order
     (11-6-2013)                                                            1 SHCR 242-257

15   Texas Court of Criminal Appeals, Opinion on Post-Conviction Applications
     (Ex parte Charles Mamou, Jr., No. WR-78,122-01, 78,122-02 and 78,122-03
     (2-5-2014)

16   Affidavit of Ronald L. Singer

17   Extracts from habeas petition in Bernal v. Dretke, No. 4:04-cv-01163 (S.D.Tex.)
     (5-25-2004)
18   Houston Chronicle articles on Houston Police Dept. crime lab and State’s witness
     Robert Baldwin

19   Schwartz, Adina, “A Systematic Challenge To The Reliability and Admissibility
     of Firearms and Toolmark Identification, VI Columbia Science and Technology
     Law Review (2005)

20   Houston Chronicle articles on State fingerprint expert Rafael Saldivar

21   Trial court “Order For Filing Affidavit” (12-11-2001)

22   State habeas counsel’s “Motion for Evidentiary Hearing” (2-21-2002)

23   Declaration of Tom Moran

24   Affidavit of Claudia Milton

25   Affidavit of Christopher Terrill Mamou

26   Affidavit of Mark Benoit

27   Declaration of Sonja Dee Rafeet

28   State habeas counsel’s “Motion For The Appointment of a Ballistics Expert”
     (1-10-2003)

EXHIBITS FILED WITH AMENDED PETITION:

29   Testimony of Robert Baldwin

30   Williams v. Quarterman, 551 F.3d 352 (5th Cir. 2008)

31   Resume of Ronald Singer

32   Resume of Prof. Adina Schwartz

33   Tobin, William A, and Blau, Peter J., “Hypothesis Testing of The Critical Underlying
     premise of Discernible Uniqueness in Firearms-Toolmarks Forensic Practice,” 53
     Jurimetrics 121-146 (2013).

34   Cole, Simon A., Forensics Without Uniqueness, Conclusions Without Individualization: The
     New Epistemology of Forensic Identification, 8 Law, Probability & Risk 233, 234 (2009).

35   AFTE Theory of Identification
36   Department of Justice letter from Special Counsel John Crabb Jr., May 6, 2013, in Manning
     v. Mississippi, 2013-DR-00491-SCT.

37    Saks, Michael J & Koehler, Jonathan J., The Individualization Fallacy in Forensic Science
     Evidence, 61 Vanderbilt L. Rev. 199-219 (2008)

38   Koehler, Jonathan J. & Saks, Michael J., Individuation Claims in Forensic Science: Still
     Unwarranted, 75 Brook. L. Rev. 1187 (2010)

39   Affidavit of Ronald L. Singer
